  

Case 4:23-cv-00852-MWB Document6 Filed 06/09/23 Page 1 of 2

235 SOUTH 13TH STREET SD,

PHILADELPHIA, PA 19107 Aa

PHONE: (215) 546-7400
Mervioa for Wrofesaouns Ine! FAX: (215) 985-0169 Pratesional Prosoos Sorers
Mark Raleigh, et al COURT United States District Court

Middle District of Pennsylvania
-VS-

AVCO Corporation, et al CASE NUMBER § 4:23-CV-00852-mwb
State of _ South Carolina AFFIDAVIT

County of Anderson

B&R Contro) # PS197888.01
Reference Number

 

SERVICE INFORMATION

On 5/25/2023, we received the
Summons and Complaint
For service upon:Champion Aerospace, LLC
At1230 Old Norris Road, Liberty, SC 29657

 

 

 

 

[x] Served Date 05/25/2023 time

In the manner described below,
[_] Personally served.

[] Adult in charge of residence, relationship is
[] Adult in charge of residence who refused to give name and/or relationship.
L] Manager/Clerk of place of residence lodging

2.22 pm __ Accepted By: Justin Knox - Human Resources/Authorized

 

 

 

 

 

 

 

 

 

 

 

x Agent or person in charge of office or usual place of business Justin Knox
_| Other
Description of Person Age 36 Height 6! Weight 200 Race Caucasian Sex M
Other Salt & pepper hair
[-]Not Served ate Time [-] Moved [[] Unknown L_]No Answer [_] Vacant
C7 other

 

 

 

The Process Server, being duly sworn, deposes and says that the Sworn to and subscribed before me this

 

 
  

 

facts set forth herein are true and correct to the best of their 25th day of May, 2023
knowledge, information and bel; ) COL OKs
Process Server/Siverifk ; Notary Public

 

 

 

 

 

)
Client Phone (610) 696-9686 [ : | | Filed Date: \05/23/2023 | BR Serve By: lo6/4 0/2023 |
Bradley J. Stoll, Esquire oy i Os iC J Posle
Katzman, Lampert & Stoll ory Seoaneeso Ife ey Notary Public
Se emeavene = SwoTag,S % State of South Carolina, County of Anderson
Wayne, PA 19087 23 4 Commission Expires May 3, 2029
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Case 4:23-cv-00852-MWB Documenté6 Filed 06/09/23 Page 2 of 2

AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
District of Pennsylvania

Case Number: 4:23-CV-00852-MWB

RALEIGH, Deceased and :
BRENT CRIDDLE, as the Personal Representative of the ESTATE OF DEVIN
CRIDDLE, Deceased,

vs.

Plaintiff:
MARK RALEIGH, as the Personal Representative of the ESTATE OF BRAEDAN | | | | WM | | | | | | |
AWT202300055

0556

Defendant:
AVCO CORPORATION, and AVSTAR FUEL SYSTEMS, INC. and CHAMPION
AEROSPACE, LLC and PRECISION AIRMOTIVE, LLC

For:

Bradley Stoll

KATZMAN, LAMPERT & STOLL
121 North Wayne Ave., Suite 205
Wayne, PA 19087

Received by B&R Services for Professionals, Inc. to be served on Champion Aerospace, LLC, 1230 Old Norris Road,
Liberty, Pickens County, SC 29657.

|, Florence Burns, being duly sworn, depose and Say that on the 25th day of May, 2023 at 2:22 pm, I:

served a CORPORATION by delivering a true copy of the CIVIL COVER SHEET, SUMMONS IN A CIVIL ACTION and CIVIL
ACTION COMPLAINT with the date and hour of service endorsed thereon by me, to: Justin Knox as Human Resources for
Champion Aerospace, LLC, at the address of: 1230 Old Norris Road, Liberty, Pickens County, SC 29657, and informed said
person of the contents therein, in compliance with state statutes.

Description of Person Served: Age: 36, Sex: M, Race/Skin Color: Caucasian, Height: 6'0", Weight: 200, Hair: Salt & Pepper,
Glasses: N

| certify that | am over the age of 18, have no interest in the above action, and am a Process Server, in good standing, in the

judicial circuit in which the process was served.
eh Apter Lahm!

\__Pforbnce Burns

 

 

Subscribed and Sworn to before me on the Leth Process Server
day of On LCL by the affiant
who is personally known to me. sauss3y), B&R Services for Professionals, Inc.
C Ay KW Ake, OV FOG, 235 S. 13th Street
Ey ee, Philadelphia, PA 19107
NOTARY PUBLIC = FO TAR po % (215) 546-7400
MY-Garoniission expires: = mata 6 ES Our Job Serial Number: AWT-2023000556

Notary Public . an gee Ref: Champion
tand-of Set ina; Anderson 23... UB =
Commission Expires May 3, 2029 TH ERE

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